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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
JAMES H. GRESHAM

       VS                                                      CASE NO.   3:93cr3053/RV

UNITED STATES OF AMERICA

                                    REFERRAL AND ORDER

Referred to Judge Vinson on 09/15/2006
Type of Motion/Pleading REQUEST FOR RELIEF PURSUANT TO THE DOCTRINE OF
STRUCTURAL ERROR OR IN THE ALTERNATIVE PURSUANT TO THE F.R. CRIMINAL
PROCEDURE RULE 52(A)
Filed by: Defendant Gresham      on 7/31/06      Doc. No. 637
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
None                             on              Doc. No.
                                 on              Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ V. Harmon
                                               Deputy Clerk

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this                   15th   day of
 September                       , 2006, that:
(a) The requested relief is DENIED.
(b)




                                               /s/ Roger Vinson
                                               ROGER VINSON
                                               SENIOR UNITED STATES DISTRICT JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
